  Case 4:10-cv-00439-Y Document 88 Filed 04/30/12                 Page 1 of 2 PageID 1913



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                             FORTH WORTH DIVISION

ADAM JOSE VALDEZ,                                    §
                                                     §
   Plaintiff,                                        §
                                                     §
   v.                                                §      No. 4:10-CV-0439-Y
                                                     §
PENTAGROUP FINANCIAL, LLC,                           §
                                                     §
   Defendant.                                        §


                                 SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on the second day of April

2012, pursuant to Plaintiff’s Motion for Attorneys’ Fees and Costs, in favor of Adam Jose

Valdez and against Pentagroup Financial, LLC in the amount of $12,468.00 in costs and fees.

Said Judgment has been fully paid and it is certified that there are no outstanding executions with

any Sheriff or Marshall.

         THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,

and the Clerk of the Court is hereby authorized and directed to make an entry of the full and

complete satisfaction of said Judgment on the docket herein.

Dated:          April 30, 2012               KROHN & MOSS, LTD.


                                                 By: /s/ Adam T. Hill
                                                    Adam T. Hill
                                                    KROHN & MOSS, LTD.
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                                                    Appearing pro hac vice
  Case 4:10-cv-00439-Y Document 88 Filed 04/30/12                Page 2 of 2 PageID 1914




                               CERTIFICATE OF SERVICE

       I, Adam T. Hill, certify that a true and correct copy of the foregoing was served upon the
attorney(s) of record electronically via the Case Management/Electronic Case Filing System
(CM/ECF) on April 30, 2012.

                                                By: /s/ Adam T. Hill
                                                   Adam T. Hill




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